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14
                                       UNITED STATES DISTRICT COURT
15                                    CENTRAL DISTRICT OF CALIFORNIA
16
      Francesca Gregorini,                           Case No. 2:20-cv-00406-SSS-JC
17
                         Plaintiff,
18                                                   JOINT WITNESS LIST
             v.
19                                                   Trial: January 13, 2025
      APPLE INC., a California corporation; M.
20    NIGHT SHYAMALAN, an individual,
      BLINDING EDGE PICTURES, INC., a
21    Pennsylvania corporation; UNCLE GEORGE
      PRODUCTIONS, a Pennsylvania corporate;
22    ESCAPE ARTISTS LLC, a California
      limited liability company; DOLPHIN
23    BLACK PRODUCTIONS, a California
      corporation; TONY BASGALLOP, an
24    individual; ASHWIN RAJAN, an individual;
      JASON BLUMENTHAL, an individual;
25    TODD BLACK, an individual; STEVE
      TISCH, an individual; and DOES 1-10,
26    inclusive,

27                       Defendants.

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 1           The Parties provide this Joint Witness List as required by Federal Rule of Civil Procedure
 2    26(a)(3) and Local Rule 16-5. The Parties discloses the following witnesses that they expect to call
 3    to testify at trial and those that may be called if the need arises (as indicated by an “*”), other than
 4    those witnesses contemplated for rebuttal or impeachment.
 5
         Witness’s                                                                                       Dates
 6                                                                    Time for          Time for
        Name, Phone           Summary of Testimony / Why                                                  of
                                                                     Direct Exam       Cross Exam
 7        Number,                 Testimony Unique                                                       Testi
                                                                       (Hours)           (Hours)
          Address                                                                                        mony
 8     Max Aronson*         Defendants may call Mr. Aronson to
                            testify. Defendants contend Mr.
 9     c/o DAVIS            Aronson may testify about Apple’s
10     WRIGHT               minimal creative contributions to
       TREMAINE             Servant, and his lack of knowledge
11     LLP,                 of Emanuel. Defendants contend
       865 South            Mr. Aronson has unique testimony
12     Figueroa Street,     because he was the individual
13     24th Floor,          primarily responsible for conveying
       Los Angeles,         any Apple creative notes or
14     California           suggestions regarding Servant.
       90017-2566
15     213.633.6800         Plaintiff may call Mr. Aronson to
                            testify. Plaintiff contends Mr.
16                          Aronson may testify about Apple’s
17                          creative direction and contributions
                            to Servant and the relationship
18                          between episodes and seasons; and
                            Defendants’ knowledge of Ms.
19                          Gregorini and their access to her
20                          prior work, Emanuel, including
                            through its widespread
21                          dissemination in the entertainment
                            industry and his prior evaluation,
22                          selection, and work with Ms.
                            Gregorini at Sony and then at Apple.
23                          Plaintiff contends Mr. Aronson has
24                          unique testimony based on his
                            responsibility for Apple’s day-to-
25                          day input on Servant and direct
                            access to Emanuel before Servant
26                          was released.
27
28

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          Witness’s                                                                              Dates
 1                                                                  Time for       Time for
        Name, Phone         Summary of Testimony / Why                                            of
                                                                   Direct Exam    Cross Exam
 2        Number,               Testimony Unique                                                 Testi
                                                                     (Hours)        (Hours)
          Address                                                                                mony
 3     Tony Basgallop     Defendants intend to call Mr.
                          Basgallop to testify. Defendants
 4     c/o DAVIS          contend Mr. Basgallop will testify
 5     WRIGHT             about Servant’s creation and
       TREMAINE           inspirations for the series, including
 6     LLP,               his scripts, drafts, and brainstorming
       865 South          documents for Practically Perfect;
 7     Figueroa Street,   Servant’s development and
 8     24th Floor,        production; his role and
       Los Angeles,       responsibilities on Servant; his role
 9     California         and responsibilities on the series
       90017-2566         Berlin Station (if necessary); his
10     213.633.6800       knowledge of Emanuel; his profits
                          revenues, and expenses attributable
11                        to Servant; and his lack of
12                        knowledge of Emanuel. Defendants
                          contend Mr. Basgallop’s testimony
13                        is unique because he created Servant
                          and wrote the episodes at issue in
14                        this lawsuit (Episodes 1-3).
15                                                                      2              1
                          Plaintiff may call Mr. Basgallop to      (Defendants’   (Plaintiff’s
16                        testify. Plaintiff contends Mr.             case)         cross)
                          Basgallop may testify about his
17                        creation of Practically Perfect and
                          its transformation into the released
18                        version of Servant; the relationship
19                        between episodes and seasons of
                          Servant; testimony about
20                        Defendants’ access to Emanuel,
                          including through its widespread
21                        dissemination in the entertainment
22                        industry and consideration of Ms.
                          Gregorini for a director role on a
23                        show Mr. Basgallop worked on
                          called Berlin Station; and the profits
24                        he made from Servant. Plaintiff
                          contends Mr. Basgallop’s testimony
25                        is unique because he is credited as
26                        the creator of Practically Perfect
                          and Servant, and he wrote infringing
27                        episodes 1-3.
28

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          Witness’s                                                                           Dates
 1                                                                  Time for      Time for
        Name, Phone         Summary of Testimony / Why                                         of
                                                                   Direct Exam   Cross Exam
 2        Number,               Testimony Unique                                              Testi
                                                                     (Hours)       (Hours)
          Address                                                                             mony
 3     Todd Black*        Plaintiff may call Mr. Black to
                          testify. Plaintiff contends Mr. Black
 4     c/o DAVIS          may testify about his role at Escape
 5     WRIGHT             Artists and his review and
       TREMAINE           promotion of Practically Perfect and
 6     LLP,               later Servant; and the profits he
       865 South          made from Servant. Plaintiff
 7     Figueroa Street,   contends Mr. Black’s testimony is
 8     24th Floor,        unique because he was an executive
       Los Angeles,       producer on Servant and he is one of
 9     California         few executives at Defendant Escape
       90017-2566         Artists.
10     213.633.6800
                          Defendants may call Mr. Black to
11                        testify. Defendants contend that Mr.
12                        Black may testify about his lack of
                          involvement in the production of
13                        Servant.
14     Olivia             Plaintiff may call Ms. Blaustein to
15     Blaustein*         testify. Plaintiff contends Ms.
                          Blaustein may testify about her
16     c/o Law Office     practices and procedures for
       of Greg David      submitting Ms. Gregorini for
17     Derin,             director roles and the dissemination
       1801 Century       of Emanuel as part of that process,
18     Park East,         including for a director role on
19     16th Floor,        Berlin Station, a show Mr.
       Los Angeles,       Basgallop worked on. Plaintiff
20     California 90067   contends Ms. Blaustein has unique
       (310) 552-1062     testimony through her role as Ms.
21     gdderin@derin.c    Gregorini’s agent and her
22     om                 submission of Ms. Gregorini for
                          director roles in the entertainment
23                        industry for a period before Servant.

24                        Defendants may call Ms. Blaustein
                          to testify. Defendants contend Ms.
25                        Blaustein may testify about
26                        Plaintiff’s alleged submission to
                          Berlin Station as a potential director
27                        for certain episodes of that series.
                          Defendants contend Ms. Blaustein
28                        has unique testimony because

                                                        4
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         Witness’s                                                                           Dates
 1                                                                 Time for      Time for
        Name, Phone         Summary of Testimony / Why                                        of
                                                                  Direct Exam   Cross Exam
 2       Number,                Testimony Unique                                             Testi
                                                                    (Hours)       (Hours)
          Address                                                                            mony
 3                        Plaintiff alleges Ms. Blaustein made
                          the submission, but Ms. Blaustein
 4                        testified she does not know whether
 5                        Plaintiff was, in fact, submitted, or
                          whether any such submission would
 6                        include a link to Emanuel.
 7     David            Defendants may call Mr. Bloomfield
 8     Bloomfield*      to testify. Defendants contend Mr.
                        Bloomfield may testify about
 9     c/o Davis Wright Escape Artists’, Mr. Blumenthal’s,
       Tremaine LLP     Mr. Black’s, and Mr. Tisch’s profits,
10     865 South        revenues, and expenses attributable
       Figueroa Street, to Servant (if any). Defendants
11     24th Floor       contend Mr. Bloomfield has unique
12     Los Angeles, CA testimony because he is a partner at
       90017            Escape Artists and is responsible for
13     213-633-6800     handling its business and corporate
                        affairs.
14
15     Jason              Plaintiff may call Mr. Blumenthal to
       Blumenthal*        testify. Plaintiff contends Mr.
16                        Blumenthal may testify about
       c/o DAVIS          Escape Artists’ and his roles,
17     WRIGHT             creative input, and promotion of
       TREMAINE           Practically Perfect and Servant; and
18
       LLP,               the profits he and Escape Artists
19     865 South          made from Servant. Plaintiff
       Figueroa Street,   contends Mr. Blumenthal’s
20     24th Floor,        testimony is unique because he was
       Los Angeles,       an executive producer on Servant
21     California         and the main executive at Defendant
22     90017-2566         Escape Artists that worked on
       213.633.6800       Servant.
23
                          Defendants may call Mr.
24                        Blumenthal. Defendants contend
                          Mr. Blumenthal may testify about
25
                          Servant’s development; Mr. Black’s
26                        minimal involvement in the creation
                          of Servant; Mr. Tisch’s lack of
27                        involvement in the creation of
                          Servant; and Mr. Blumenthal’s lack
28                        of knowledge of Emanuel.

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         Witness’s                                                                                Dates
 1                                                                   Time for       Time for
        Name, Phone         Summary of Testimony / Why                                             of
                                                                    Direct Exam    Cross Exam
 2       Number,                Testimony Unique                                                  Testi
                                                                      (Hours)        (Hours)
          Address                                                                                 mony
 3                        Defendants contend Mr. Blumenthal
                          has unique testimony because he
 4                        pitched Mr. Basgallop’s Practically
 5                        Perfect scripts to M. Night
                          Shyamalan, and was involved in the
 6                        development and production of
                          Servant from 2016 onward.
 7
 8     Matt Cherniss      Defendants intend to call Mr.
                          Cherniss. Defendants contend Mr.
 9     c/o DAVIS          Cherniss will testify about Apple’s
       WRIGHT             decision to make a straight-to-series
10     TREMAINE           order for Servant; Apple’s role in
       LLP,               Servant’s development, including
11     865 South          creative notes and suggestions; the
12     Figueroa Street,   lack of causal nexus between
       24th Floor,        Defendants’ alleged infringement
13     Los Angeles,       and any profits from either Episodes
       California         4-40 of Servant or Apple TV+;
14     90017-2566         Servant’s marketing; Servant’s
15     213.633.6800       distribution, including renewals of
                          the series; and Apple’s lack of
16                        knowledge of Emanuel. Defendants
                          contend Mr. Cherniss will also
17                        provide expert testimony about
                                                                         1             0.5
                          industry standards regarding the
18                        packaging, value, and sale of
                                                                    (Defendants’   (Plaintiff’s
                                                                       case)         cross)
19                        television series; reasons for renewal
                          of subsequent seasons of a television
20                        series; audience interest in television
                          series; and the role and significance
21                        of M. Night Shyamalan’s brand and
22                        prior work. Defendants contend Mr.
                          Cherniss has unique testimony
23                        because he is a creative executive at
                          Apple in charge of Servant. He has
24                        knowledge of Apple’s role on
                          Servant and broad industry
25                        experience
26
                          Plaintiff may call Mr. Cherniss to
27                        testify. Plaintiff contends Mr.
                          Cherniss may testify about Apple’s
28                        creative direction and contributions

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         Witness’s                                                                              Dates
 1                                                                 Time for       Time for
        Name, Phone         Summary of Testimony / Why                                           of
                                                                  Direct Exam    Cross Exam
 2       Number,                Testimony Unique                                                Testi
                                                                    (Hours)        (Hours)
          Address                                                                               mony
 3                        to Servant and the relationship
                          between episodes and seasons; and
 4                        Defendants’ knowledge of Ms.
 5                        Gregorini and their access to her
                          prior work, Emanuel. Plaintiff
 6                        contends Mr. Cherniss has unique
                          testimony based on oversight of
 7                        Servant in his role with Apple TV+.
 8
       Jamie Erlicht*     Plaintiff may call Mr. Erlicht to
 9                        testify. Plaintiff contends Mr.
       c/o DAVIS          Erlicht may testify about the launch
10     WRIGHT             strategy, viewership, creative
       TREMAINE           contributions and input, and
11     LLP,               promotion of Servant on Apple
12     865 South          TV+; Apple’s profits from Apple
       Figueroa Street,   TV+ and Servant; and Defendants’
13     24th Floor,        knowledge of Ms. Gregorini and
       Los Angeles,       their access to her prior work,
14     California         Emanuel, including through his
15     90017-2566         work at Sony. Plaintiff contends Mr.
       213.633.6800       Erlicht’s testimony is unique based
16                        on his role as co-head of worldwide
                          video at Apple and responsibility for
17                        the launch of Apple TV+, including
                          Servant.
18
19     Michael Robert     Defendants intend to call Mr. Gale
       (Bob) Gale         to testify. Defendants contend that
20     c/o Davis Wright   Mr. Gale will provide expert
       Tremaine LLP       testimony about the lack of
21     865 South          substantial similarity between
22     Figueroa Street,   Emanuel and Episodes 1-3 of
       24th Floor         Servant; application of the extrinsic
23     Los Angeles, CA    test; ideas and concepts, stock and          1             0.5
       90017              generic elements, facts, and scenes-    (Defendants’   (Plaintiff’s
24     213-633-6800       a-faire; comparison of the works’          case)         cross)
                          plots, sequences of events,
25
                          characters, dialogue, themes,
26                        settings, moods, and paces; and the
                          selection and arrangement of
27                        protectable and unprotectable
                          elements in the works. Mr. Gale has
28                        unique testimony because he

                                                       7
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         Witness’s                                                                                     Dates
 1                                                                    Time for           Time for
        Name, Phone           Summary of Testimony / Why                                                of
                                                                     Direct Exam        Cross Exam
 2       Number,                  Testimony Unique                                                     Testi
                                                                       (Hours)            (Hours)
          Address                                                                                      mony
 3                          performed an expert analysis and
                            comparison of Emanuel and
 4                          Episodes 1-3 of Servant.
 5
       Richard Gold*        Defendants may call Mr. Gold to
 6                          testify. Defendants contend that Mr.
       See Exhibit 1 to     Gold may testify about the process
 7     Defendants’          for selecting directors for Berlin
 8     Second               Station, including the individuals
       Amended              responsible for reviewing director
 9     Initial              submissions. Mr. Gold has unique
       Disclosures,         testimony because he was the vice
10     served on            president of development at
       August               Paramount Television Studios,
11     31, 2023, for last   which produced Berlin Station. He
12     known contact        played a key role in director hiring
       information.         for Season 2.
13
       Francesca            Plaintiff intend to call Ms. Gregorini
14     Gregorini            to testify. Plaintiff contends Ms.
15                          Gregorini will testify about the
       c/o Robins           development and creation of the film
16     Kaplan LLP,          Emanuel; dissemination of Emanuel
       2121 Avenue of       throughout the world and the
17     the Stars, Suite
       2800,                entertainment industry, including to
       Los Angeles,         certain Defendants; the copyright in
18
       California           Emanuel; and Ms. Gregorini’s
19     90067                discovery of Defendants’
       310.552.0130         infringement and similarities
20                          between Emanuel and Servant.
                                                                          2.5                2
                            Plaintiff contends Ms. Gregorini’s
21                          testimony is unique as the writer and
                                                                      (Plaintiff’s      (Defendants’
                                                                         case)             cross)
22                          director of the film Emanuel.

23                          Defendants may call Ms. Gregorini
                            to testify. Defendants contend Ms.
24                          Gregorini may testify about
                            Emanuel’s copyright registration,
25
                            ownership, and chain of title;
26                          communications with the Copyright
                            Office regarding the copyright
27                          registration for Emanuel; Emanuel’s
                            creation; the story upon which
28                          Emanuel is based; Emanuel’s

                                                         8
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         Witness’s                                                                            Dates
 1                                                                  Time for      Time for
        Name, Phone         Summary of Testimony / Why                                         of
                                                                   Direct Exam   Cross Exam
 2       Number,                Testimony Unique                                              Testi
                                                                     (Hours)       (Hours)
          Address                                                                             mony
 3                        development and pre-production;
                          Emanuel’s production, including
 4                        creative decisions related to the
 5                        production design, lighting, and
                          cinematography of the film;
 6                        Emanuel’s post-production,
                          including creative decisions related
 7                        to the editing and music of the film;
 8                        Plaintiff’s communications and
                          agreement with third-party Sarah
 9                        Thorp regarding the ownership of
                          the story upon which Emanuel is
10                        based; Emanuel’s distribution;
                          critical and commercial reception of
11                        Emanuel; interviews given and/or
12                        statements made about Emanuel;
                          interactions and/or communications
13                        regarding Defendants or Servant;
                          Plaintiff’s purported submission to
14                        direct an episode of the television
15                        series Berlin Station; and Plaintiff’s
                          personal background and
16                        professional history.
                          Defendants contend Ms. Gregorini
17                        has unique testimony because she
                          directed Emanuel and is the plaintiff
18                        in this litigation.
19
       Ellen Jones*       Plaintiff may call Ms. Jones to
20                        testify. Plaintiff contends Ms. Jones
       c/o Law Office     may testify about her practices and
21     of Greg David      procedures for submitting Ms.
22     Derin,             Gregorini for director roles and the
       1801 Century       dissemination of Emanuel as part of
23     Park East,         that process, including to Apple.
       16th Floor,        Plaintiff contends Ms. Jones has
24     Los Angeles,       unique testimony through her role as
       California 90067   Ms. Gregorini’s agent and
25     (310) 552-1062     submitting her to Apple before
26     gdderin@derin.c    Servant.
       om
27     Antony             Plaintiff may call Mr. Langdon to
       Langdon*           testify. Plaintiff contends Mr.
28                        Langdon may testify about the

                                                        9
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            Witness’s                                                                          Dates
 1                                                                 Time for        Time for
          Name, Phone        Summary of Testimony / Why                                         of
                                                                  Direct Exam     Cross Exam
 2          Number,              Testimony Unique                                              Testi
                                                                    (Hours)         (Hours)
            Address                                                                            mony
 3      c/o Robins         creation of the film Emanuel and his
        Kaplan LLP,        observation of similarities between
 4      2121 Avenue of     Emanuel and Servant. Plaintiff              0.5
        the Stars,         contends Mr. Langdon’s testimony        (Plaintiff’s
 5      Suite 2800,                                                   case)
                           is unique as the editor on the film
 6      Los Angeles,       Emanuel.
        California 90067
 7      310.552.0130

 8      Taylor Latham*     Defendants may call Ms. Latham to
                           testify. Defendants contend Ms.
 9      c/o DAVIS          Latham may testify Mr. Basgallop’s
10      WRIGHT             creation of Servant; Servant’s
        TREMAINE           development and production,
11      LLP,               including the pitch to Blinding Edge
        865 South          and then to Apple; and Ms.
12      Figueroa Street,   Latham’s lack of knowledge of
        24th Floor,        Emanuel. Defendants contend Ms.
13                         Latham has unique testimony
        Los Angeles,
14      California         because she was the person at
        90017-2566         Escape Artists to whom Mr.
15      213.633.6800       Basgallop first sent his scripts in
                           2016, which were then shown to M.
16                         Night Shyamalan and Ashwin Rajan
                           at Blinding Edge Pictures
17
18                         Plaintiff may call Ms. Latham to
                           testify. Plaintiff contends Ms.
19                         Latham may testify about the
                           creation and evolution of Mr.
20                         Basgallop’s Practically Perfect
                           scripts into the released version of
21
                           Servant and promotion of the
22                         scripts; the relationship between
                           episodes and seasons of Servant; and
23                         Defendants’ creative direction and
                           contributions to Servant. Plaintiff
24                         contends Ms. Latham’s testimony is
25                         unique as the primary person from
                           Escape Artists responsible for
26                         working on Practically Perfect and a
                           producer on Servant.
27
        Adam Leach*        Defendants may call Mr. Leach to
28                         testify. Defendants contend Mr.

                                                       10
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            Witness’s                                                                                Dates
 1                                                                     Time for        Time for
          Name, Phone          Summary of Testimony / Why                                             of
                                                                      Direct Exam     Cross Exam
 2          Number,                Testimony Unique                                                  Testi
                                                                        (Hours)         (Hours)
            Address                                                                                  mony
 3      c/o Davis Wright     Leach may testify about Blinding
        Tremaine LLP         Edge’s, Mr. Shyamalan’s, and Mr.
 4      865 South            Rajan’s profits, revenues, and
 5      Figueroa Street,     expenses attributable to Servant.
        24th Floor           Defendants contend Mr. Leach has
 6      Los Angeles, CA      unique testimony because he is the
        90017                director of finance for Blinding
 7      213-633-6800         Edge.
 8      Liz Lewin*           Defendants may call Ms. Lewin to
 9      See Exhibit 1 to     testify. Defendants contend Ms.
        Defendants’          Lewin may testify about drafts of
10      Second               Practically Perfect that Mr.
        Amended              Basgallop wrote in 2006-2007; and
11      Initial              efforts to develop and sell
        Disclosures,         Practically Perfect. Defendants
12
        served on            contend Ms. Lewin has unique
13      August               testimony because she was involved
        31, 2023, for last   in soliciting Mr. Basgallop to write a
14      known contact        show about nannies, shopping
        information.         Practically Perfect to potential
15                           directors and actors, and attempting
                             to get Practically Perfect greenlit.
16
17      Naaman           Defendants may call Mr. Marshall to
        Marshall*        testify. Defendants contend Mr.
18                       Marshall may testify about Servant’s
        c/o Davis Wright production, including creative
19      Tremaine LLP     decisions related to the production
20      865 South        design of the series; and Mr.
        Figueroa Street, Marshall’s lack of knowledge of
21      24th Floor       Emanuel. Defendants contend Mr.
        Los Angeles, CA Marshall has unique testimony
22      90017            because he was the production
        213-633-6800     designer on Servant Season 1 and
23                       played a significant role in the
24                       production design of the series.

25      Dominic              Plaintiff intends to call Mr.
        Persechini           Persechini to testify. Plaintiff               1              1
26                           contends that Mr. Persechini will
        c/o Robins           provide expert testimony about            (Plaintiff’s   (Defendants’
27      Kaplan LLP,          revenues and profits Defendants
        2121 Avenue of       received as a result of their                case)          cross)
28
        the Stars,

                                                          11
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           Witness’s                                                                              Dates
 1                                                                  Time for        Time for
         Name, Phone         Summary of Testimony / Why                                            of
                                                                   Direct Exam     Cross Exam
 2          Number,              Testimony Unique                                                 Testi
                                                                     (Hours)         (Hours)
            Address                                                                               mony
 3      Suite 2800,        infringement from Servant and
        Los Angeles,       Apple TV+ and related
 4      California 90067   methodologies and calculations for
 5      310.552.0130       those figures; and issues with Ms.
                           Trexler’s calculations. Mr.
 6                         Persechini’s testimony is unique as
                           expert testimony regarding
 7                         Plaintiff’s measure of damages.
 8      Ellen Pittleman    Plaintiff intends to call Ms.
 9                         Pittleman to testify. Plaintiff
        c/o Robins         contends that Ms. Pittleman will
10      Kaplan LLP,        provide expert testimony about the
        2121 Avenue of     dissemination of Emanuel across the
11      the Stars, Suite   world and within the entertainment
        2800,              industry and Defendant’s various
12      Los Angeles,                                                     1              1
                           avenues of access to Emanuel; and
13      California 90067   the causal relationship between
        310.552.0130       revenue and profits Defendants           (Plaintiff’s   (Defendants’
14                         received from Servant and their
                                                                       case)          cross)
                           infringement in Episodes 1-3 and
15                         Apple TV+. Ms. Pittleman’s
                           testimony is unique as expert
16
                           testimony from an industry expert
17                         on issues of access and nexus for
                           damages.
18
        Ashwin Rajan*      Defendants may call Mr. Rajan to
19                         testify. Defendants contend Mr.
20      c/o DAVIS          Rajan may testify about Servant’s
        WRIGHT             development; Apple’s creative notes
21      TREMAINE           and suggestions; Mr. Shyamalan’s
        LLP,               professional career and brand; and
22      865 South          Mr. Rajan’s lack of knowledge of
        Figueroa Street,   Emanuel. Defendants contend Mr.
23                         Rajan has unique testimony because
        24th Floor,
24      Los Angeles,       he is the president of production at
        California         Blinding Edge Pictures and played a
25      90017-2566         significant role in the development
        213.633.6800       and production of the series
26
                           Plaintiff may call Mr. Rajan to
27                         testify. Plaintiff contends Mr. Rajan
28                         may testify about the creation and
                           evolution of Mr. Basgallop’s

                                                       12
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          Witness’s                                                                                   Dates
 1                                                                     Time for        Time for
         Name, Phone           Summary of Testimony / Why                                              of
                                                                      Direct Exam     Cross Exam
 2        Number,                  Testimony Unique                                                   Testi
                                                                        (Hours)         (Hours)
           Address                                                                                    mony
 3                           Practically Perfect scripts into the
                             released version of Servant; the
 4                           relationship between episodes and
 5                           seasons of Servant; and Defendants’
                             creative direction and contributions
 6                           to Servant. Plaintiff contends Mr.
                             Rajan’s testimony is unique as a
 7                           producer and key person from
                             Blinding Edge responsible for
 8                           working on Servant.
 9
        Prof. David          Plaintiff intends to call Prof. Román
10      Román                to testify. Plaintiff contends that
                             Prof. Román will provide expert
11      c/o Robins           testimony about the striking and
        Kaplan LLP,          substantial similarities between
12      2121 Avenue of                                                     1.5              1
                             Emanuel and Defendants’ infringing
13      the Stars,           Servant episodes; and the evolution
        Suite 2800,          of and difference between Mr.             (Plaintiff’s   (Defendants’
14      Los Angeles,         Basgallop’s Practically Perfect
                                                                          case)          cross)
        California 90067     scripts and the released version of
15      310.552.0130         Servant. Mr. Román’s testimony is
                             unique as expert testimony relating
16
                             to Defendants’ infringement.
17
        Laura Ross*          Defendants may call Ms. Ross to
18      See Exhibit 1 to     testify. Defendants contend Ms.
        Defendants’          Ross may testify about the reborn
19      Second               doll industry; Servant’s production,
20      Amended              including creative decisions related
        Initial              to the doll that played the character
21      Disclosures,         Jericho; and Ms. Ross’s lack of
        served on            knowledge of Emanuel. Defendants
22      August               contend Ms. Ross has unique
        31, 2023, for last   testimony because she sculpted the
23                           doll that played the character Jericho
        known contact
24      information.         in Servant.

25      M. Night             Defendants intend to call Mr.
        Shyamalan            Shyamalan to testify. Defendants              1.5             0.5
26                           contend Mr. Shyamalan will testify
        c/o DAVIS            about Servant’s development;             (Defendants’     (Plaintiff’s
27
        WRIGHT               Servant’s production, including
                                                                          case)          cross)
28                           creative decisions related to the


                                                          13
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           Witness’s                                                                          Dates
 1                                                                  Time for      Time for
         Name, Phone         Summary of Testimony / Why                                        of
                                                                   Direct Exam   Cross Exam
 2          Number,              Testimony Unique                                             Testi
                                                                     (Hours)       (Hours)
            Address                                                                           mony
 3      TREMAINE           production design, lighting, and
        LLP,               cinematography of the series;
 4      865 South          Servant’s post-production, including
 5      Figueroa Street,   creative decisions related to the
        24th Floor,        editing and music of the series; Mr.
 6      Los Angeles,       Shyamalan’s direction of Episode 1
        California         of Servant, including his storyboards
 7      90017-2566         and directorial choices related to
        213.633.6800       Episode 1; Mr. Shyamalan’s role in
 8                         Episodes 2 and 3 of Servant;
 9                         renewals of the series; Mr.
                           Shyamalan’s directorial techniques
10                         and style, including in his prior
                           works; Mr. Shyamalan’s
11                         professional career and brand; and
                           Mr. Shyamalan’s lack of knowledge
12                         of Emanuel. Defendants contend
13                         Mr. Shyamalan has unique
                           testimony because he owns Blinding
14                         Edge Pictures, which produced
                           Servant, and directed Episode 1 of
15                         Servant. He played a significant
                           role in the development and
16
                           production of the series
17
                           Plaintiff may call Mr. Shyamalan to
18                         testify. Plaintiff contends Mr.
                           Shyamalan may testify about the
19                         creation and evolution of Mr.
20                         Basgallop’s Practically Perfect
                           scripts into the released version of
21                         Servant; the relationship between
                           episodes and seasons of Servant; and
22                         Defendants’ creative direction and
                           contributions to Servant. Plaintiff
23                         contends Mr. Shyamalan’s
24                         testimony is unique as he was the
                           director of the first episode of
25                         Servant and an executive producer
                           for the entire series.
26
        Catherine        Defendants may call Ms. Spevak to
27      Spevak*          testify. Defendants contend Ms.
28      c/o Davis Wright Spevak may testify about Apple’s
                         profits, revenues, and expenses

                                                       14
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            Witness’s                                                                           Dates
 1                                                                    Time for      Time for
          Name, Phone          Summary of Testimony / Why                                        of
                                                                     Direct Exam   Cross Exam
 2           Number,               Testimony Unique                                             Testi
                                                                       (Hours)       (Hours)
             Address                                                                            mony
 3      Tremaine LLP         attributable to Servant. Defendants
        865 South            contend Ms. Spevak has unique
 4      Figueroa Street,     testimony because she is a financial
 5      24th Floor           manager at Apple.
        Los Angeles, CA
 6      90017
        213-633-6800
 7      Jessica Sykes*       Defendants may call Ms. Sykes to
 8      See Exhibit 1 to     testify. Defendants contend Ms.
        Defendants’          Sykes may testify about efforts to
 9      Second               develop and sell Practically Perfect.
        Amended              Defendants contend Ms. Sykes has
10      Initial              unique testimony because she acted
        Disclosures,         as Mr. Basgallop’s agent from 2005-
11      served on            2021.
12      August
        31, 2023, for last
13      known contact
        information.
14      Sarah Thorp*         Defendants may call Ms. Thorp to
15                           testify. Defendants contend Ms.
        c/o Law Offices      Thorp may testify about the story
16      of Max J.            Ms. Thorp shared with Plaintiff
        Sprecher,            upon which Plaintiff’s film The
17      580 Canoga           Truth About Emanuel (“Emanuel”)
        Avenue,              is based; Ms. Thorp’s creative
18                           inspirations, notes, and scripts
        4th Floor,
19      Woodland Hills,      related to that story; Ms. Thorp’s
        California 91367     story-by credit on Emanuel;
20      max@sprecherla       Emanuel’s creation and
        w.com                development; negotiations and/or
21                           agreements made in connection with
                             Emanuel; and Ms. Thorp’s personal
22                           and professional relationship with
23                           Plaintiff. Defendants contend Ms.
                             Thorp has unique testimony because
24                           she created the story upon which
                             Emanuel is based
25
                             Plaintiff may call Ms. Thorp to
26                           testify. Plaintiff contends Ms. Thorp
27                           may testify about Ms. Gregorini’s
                             creation of the film Emanuel and
28

                                                         15
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          Witness’s                                                                              Dates
 1                                                                  Time for       Time for
         Name, Phone         Summary of Testimony / Why                                           of
                                                                   Direct Exam    Cross Exam
 2        Number,                Testimony Unique                                                Testi
                                                                     (Hours)        (Hours)
           Address                                                                               mony
 3                         Ms. Thorp’s lack of involvement in
                           that process; and the circumstances
 4                         of agreements between Ms.
 5                         Gregorini and Ms. Thorp relating to
                           Emanuel. Plaintiff contends Ms.
 6                         Thorp’s testimony is unique as to
                           her personal perspective on
 7                         conversations with Ms. Gregorini
                           regarding Emanuel.
 8
 9      Steve Tisch*       Plaintiff may call Mr. Tisch to
                           testify. Plaintiff contends Mr. Tisch
10      c/o DAVIS          may testify about Mr. Tisch’s role at
        WRIGHT             Escape Artists and as an executive
11      TREMAINE           producer and producer on Servant.
12      LLP,               Plaintiff contends Mr. Tisch’s
        865 South          testimony is unique because he was
13      Figueroa Street,   an executive producer and producer
        24th Floor,        on Servant and he is one of few
14      Los Angeles,       executives at Defendant Escape
        California         Artists.
15      90017-2566
16      213.633.6800       Defendants may call Mr. Tisch to
                           testify. Defendants contend that Mr.
17                         Tisch may testify about his lack of
                           involvement in the production of
18                         Servant.
19
        Dana Trexler       Defendants intend to call Ms.
20      c/o Davis Wright   Trexler to testify. Defendants
        Tremaine LLP       contend that Ms. Texler will provide
21      865 South          expert testimony about Defendants’
        Figueroa Street,   revenues, expenses, and any profits
22
        24th Floor         from Servant, and related
23      Los Angeles, CA    calculations and methodologies; and          1             0.5
        90017              the lack of causal nexus between
24      213-633-6800       Defendants’ alleged infringement        (Defendants’   (Plaintiff’s
                           and profits from Episodes 4-40 of          case)         cross)
25                         Servant or Apple TV+. Ms. Trexler
26                         has unique testimony because she
                           performed an expert analysis
27                         regarding Defendants’
                           profits.
28

                                                       16
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           Witness’s                                                                         Dates
 1                                                                 Time for      Time for
         Name, Phone         Summary of Testimony / Why                                       of
                                                                  Direct Exam   Cross Exam
 2         Number,               Testimony Unique                                            Testi
                                                                    (Hours)       (Hours)
           Address                                                                           mony
 3      Zack Van           Plaintiff may call Mr. Van Amburg
        Amburg*            to testify. Plaintiff contends Mr.
 4                         Van Amburg may testify about the
 5      c/o DAVIS          launch strategy and promotion of
        WRIGHT             Servant on Apple TV+; Apple’s
 6      TREMAINE           profits from Apple TV+ and
        LLP,               Servant; and Defendants’ knowledge
 7      865 South          of Ms. Gregorini and Defendants’
 8      Figueroa Street,   access to her prior work, Emanuel,
        24th Floor,        including through his work at Sony.
 9      Los Angeles,       Plaintiff contends Mr. Van
        California         Amburg’s testimony is unique based
10      90017-2566         on his role as co-head of worldwide
        213.633.6800       video and chief content officer at
11                         Apple and responsibility for the
12                         launch of Apple TV+, including
                           Servant.
13
        Tatiana von        Defendants may call Ms. von
14      Furstenberg*       Furstenberg to testify. Defendants
15      c/o Law Office     contend Ms. von Furstenberg may
        of                 testify regarding Emanuel’s
16      Linda A. Bagley-   financing; Emanuel’s inspiration and
        Sohn               creation; Emanuel’s development
17      724 Superba        and pre-production; Emanuel’s
        Avenue             distribution; the ownership of the
18      Venice, CA         copyright in Emanuel and Ms. von
19      90291              Furstenberg’s personal and
        818-261-7966       professional relationship with
20                         Plaintiff. Defendants contend Ms.
                           von Furstenberg has unique
21                         testimony because she is a
22                         coproducer of Emanuel, was a
                           member of Emanuel Film LLC (the
23                         limited purpose entity Plaintiff
                           established to finance Emanuel), and
24                         has partially subsidized Plaintiff’s
                           litigation costs.
25
26      Brad Winters*      Defendants may call Mr. Winters to
        See Exhibit 1 to   testify. Defendants contend Mr.
27      Defendants’        Winters may testify about the
        Second             process for selecting directors for
28      Amended            Berlin Station, including the

                                                      17
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            Witness’s                                                                               Dates
 1                                                                     Time for       Time for
          Name, Phone          Summary of Testimony / Why                                            of
                                                                      Direct Exam    Cross Exam
 2           Number,               Testimony Unique                                                 Testi
                                                                        (Hours)        (Hours)
             Address                                                                                mony
 3      Initial              individuals responsible for
        Disclosures,         reviewing director submissions.
 4      served on            Defendants contend Mr. Winters has
 5      August               unique testimony because he was the
        31, 2023, for last   Berlin Station showrunner and had
 6      known contact        final approval over all director
        information.         hiring decisions for the series.
 7
 8      Marci Wiseman        Defendants intend to call Ms.
        c/o Davis Wright     Wiseman to testify. Defendants
 9      Tremaine LLP         contend that Ms. Wiseman will
        865 South            provide expert testimony about
10      Figueroa Street,     television and film industry
        24th Floor           practices regarding film festivals,
11      Los Angeles, CA      theatrical and non-theatrical
12      90017                releases, and episodic director
        213-633-6800         selection; use of certain tropes in
                                                                           1            0.25
13                           genre films, including dolls and
                             nannies; Mr. Shyamalan’s brand; the      (Defendants’   (Plaintiff’s
14                           availability of Emanuel; Defendants’
                             alleged exposure to Emanuel; and            case)         cross)
15
                             Mr. Basgallop’s alleged access to
16                           Emanuel while working on Berlin
                             Station. Ms. Wiseman has unique
17                           testimony because she performed an
                             expert analysis regarding television
18                           and film industry practices and
19                           issues relevant to this case.

20      Corporate            Plaintiff may call a Corporate
        representative of    representative of Apple Inc., and
21      Apple Inc.*          contends they may testify about
22                           Apple’s evaluation, roles and
                             creative input, and promotion of
23                           Practically Perfect and Servant;
                             Apple’s access to Emanuel; and
24                           Apple’s profits from Servant.
                             Plaintiff contends this testimony is
25
                             unique because it will be from the
26                           representative of the corporate entity
                             that is a named Defendant.
27
                             Defendants object to Plaintiff’s
28                           attempt to call a “corporate

                                                          18
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          Witness’s                                                                             Dates
 1                                                                    Time for      Time for
         Name, Phone          Summary of Testimony / Why                                         of
                                                                     Direct Exam   Cross Exam
 2        Number,                 Testimony Unique                                              Testi
                                                                       (Hours)       (Hours)
           Address                                                                              mony
 3                          representative,” as Federal Rule of
                            Civil Procedure 45(c)(1) permits
 4                          trial subpoenas only as to a
 5                          “person,” not a corporation. See,
                            e.g., Freedman v. United Nat. Ins.
 6                          Co., CV 09-5959, Dkt. No. 164
                            (C.D. Cal. Feb. 7, 2011); Jones v.
 7                          Nat’l Railroad Passenger Corp.,
 8                          2023 WL 6450528, at *3 (N.D. Cal.
                            Oct. 2, 2023); Hill v. Homeward
 9                          Residential, Inc., 799 F.3d 544, 552-
                            53 (6th Cir. 2015).
10
        Corporate           Plaintiff may call a Corporate
11      representative of   representative of Blinding Edge
        Blinding Edge       Pictures, and contends they will
12      Pictures*
                            testify about Blinding Edge’s
13                          evaluation, roles and creative input,
                            and promotion of Practically Perfect
14                          and Servant; Blinding Edge’s access
15                          to Emanuel; and Blinding Edge’s
                            profits from Servant. Plaintiff
16                          contends this testimony is unique
                            because it will be from the
17                          representative of the corporate entity
                            that is a named Defendant.
18
19                          Defendants object to Plaintiff’s
                            attempt to call a “corporate
20                          representative,” as Federal Rule of
                            Civil Procedure 45(c)(1) permits
21                          trial subpoenas only as to a
22                          “person,” not a corporation. See,
                            e.g., Freedman v. United Nat. Ins.
23                          Co., CV 09-5959, Dkt. No. 164
                            (C.D. Cal. Feb. 7, 2011); Jones v.
24                          Nat’l Railroad Passenger Corp.,
                            2023 WL 6450528, at *3 (N.D. Cal.
25                          Oct. 2, 2023); Hill v. Homeward
26                          Residential, Inc., 799 F.3d 544, 552-
                            53 (6th Cir. 2015).
27
        Corporate           Plaintiff may call a Corporate
28      representative of   representative of Dolphin Black

                                                         19
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           Witness’s                                                                           Dates
 1                                                                   Time for      Time for
         Name, Phone          Summary of Testimony / Why                                        of
                                                                    Direct Exam   Cross Exam
 2         Number,                Testimony Unique                                             Testi
                                                                      (Hours)       (Hours)
            Address                                                                            mony
 3      Dolphin Black       Productions, and contends they will
        Productions*        testify about Dolphin Black’s
 4                          evaluation, roles and creative input,
 5                          and promotion of Practically Perfect
                            and Servant; Dolphin Black’s access
 6                          to Emanuel; and testimony about
                            Dolphin Black’s profits from
 7                          Servant. Plaintiff contends this
 8                          testimony is unique because it will
                            be from the representative of the
 9                          corporate entity that is a named
                            Defendant.
10
                            Defendants object to Plaintiff’s
11                          attempt to call a “corporate
12                          representative,” as Federal Rule of
                            Civil Procedure 45(c)(1) permits
13                          trial subpoenas only as to a
                            “person,” not a corporation. See,
14                          e.g., Freedman v. United Nat. Ins.
15                          Co., CV 09-5959, Dkt. No. 164
                            (C.D. Cal. Feb. 7, 2011); Jones v.
16                          Nat’l Railroad Passenger Corp.,
                            2023 WL 6450528, at *3 (N.D. Cal.
17                          Oct. 2, 2023); Hill v. Homeward
                            Residential, Inc., 799 F.3d 544, 552-
18                          53 (6th Cir. 2015).
19
        Corporate           Plaintiff may call a Corporate
20      representative of   representative of Escape Artists,
        Escape Artists,     Inc., and contends they will testify
21      Inc.*
                            about Escape Artists’ evaluation,
22                          roles and creative input, and
                            promotion of Practically Perfect and
23                          Servant; Escape Artists’ access to
                            Emanuel; and Escape Artists’ profits
24                          from Servant. Plaintiff contends this
                            testimony is unique because it will
25                          be from the representative of the
26                          corporate entity that is a named
                            Defendant.
27
                            Defendants object to Plaintiff’s
28                          attempt to call a “corporate

                                                         20
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          Witness’s                                                                             Dates
 1                                                                    Time for      Time for
         Name, Phone          Summary of Testimony / Why                                         of
                                                                     Direct Exam   Cross Exam
 2        Number,                 Testimony Unique                                              Testi
                                                                       (Hours)       (Hours)
           Address                                                                              mony
 3                          representative,” as Federal Rule of
                            Civil Procedure 45(c)(1) permits
 4                          trial subpoenas only as to a
 5                          “person,” not a corporation. See,
                            e.g., Freedman v. United Nat. Ins.
 6                          Co., CV 09-5959, Dkt. No. 164
                            (C.D. Cal. Feb. 7, 2011); Jones v.
 7                          Nat’l Railroad Passenger Corp.,
 8                          2023 WL 6450528, at *3 (N.D. Cal.
                            Oct. 2, 2023); Hill v. Homeward
 9                          Residential, Inc., 799 F.3d 544, 552-
                            53 (6th Cir. 2015).
10
        Corporate           Plaintiff may call a Corporate
11      representative of   representative of Uncle George
        Uncle George        Productions, and contends they will
12      Productions*
                            testify about Uncle George’s
13                          evaluation, roles and creative input,
                            and promotion of Practically Perfect
14                          and Servant; Uncle George’s access
15                          to Emanuel; and Uncle George’s
                            profits from Servant. Plaintiff
16                          contends this testimony is unique
                            because it will be from the
17                          representative of the corporate entity
                            that is a named Defendant.
18
19                          Defendants object to Plaintiff’s
                            attempt to call a “corporate
20                          representative,” as Federal Rule of
                            Civil Procedure 45(c)(1) permits
21                          trial subpoenas only as to a
22                          “person,” not a corporation. See,
                            e.g., Freedman v. United Nat. Ins.
23                          Co., CV 09-5959, Dkt. No. 164
                            (C.D. Cal. Feb. 7, 2011); Jones v.
24                          Nat’l Railroad Passenger Corp.,
                            2023 WL 6450528, at *3 (N.D. Cal.
25                          Oct. 2, 2023); Hill v. Homeward
26                          Residential, Inc., 799 F.3d 544, 552-
                            53 (6th Cir. 2015).
27
28

                                                         21
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 1      Dated: January 3, 2025               ROBINS KAPLAN LLP
 2
 3                                           By: /s/ Patrick M. Arenz
                                                   Patrick M. Arenz
 4
                                                    Attorneys for Plaintiff
 5
 6
 7      Dated: January 3, 2025               DAVIS WRIGHT TREMAINE LLP
 8
 9                                           By: /s/ Nicolas A. Jampol
10                                                 Nicolas A. Jampol

11                                                  Attorneys for Defendants
12
13      Dated: ______________              ___________________________________
14                                                  SUNSHINE S. SYKES
15                                                United States District Judge
16
17
18
19
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 1                                           FILER’S ATTESTATION
 2     Under L.R. 5-4.3.4(a)(2)(i), I attest that all signatories listed and on whose behalf this filing is
 3     submitted concur in the filing’s content and have authorized this filing.
 4
 5     Dated: January 3, 2025
 6                                                              By:   /s/ Patrick M. Arenz
 7
 8
 9
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